
DAUKSCH, Judge.
The judgments of conviction and sentences imposed are affirmed, except for the requirement that the indigent defendant perform community service in lieu of the costs specified in Section 27.3455(1), Florida Statutes (1985). At the time defendant was sentenced, the statute had been amended to delete the community service requirement. See Hansley v. State, 514 So.2d 1135 (Fla. 5th DCA 1987); Johnson v. State, 513 So.2d 1107 (Fla. 5th DCA 1987). We therefore strike the requirement for community service.
*71Judgments and sentences AFFIRMED; community service requirement STRICKEN.
SHARP, C.J., and COBB, J., concur.
